     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 1 of 13



UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 ANGEL PERRY,
                                                             CORRECTED COMPLAINT
                                      Plaintiff,
                vs.
                                                             JURY TRIAL DEMANDED
 JOHN A. GUERRIERI, DDS PLLC
                                                             Case no. 18-cv-6443
 d/b/a JOHN A GUERRIERI DDS

                                      Defendant.


       Plaintiff, Angel Perry (“Perry”), by her attorneys Leclair Korona Cole LLP, for her

action against defendant John A. Guerrieri, DDS PLLC d/b/a John Guerrieri DDS

(“Guerrieri”), states as follows.

                                      INTRODUCTION

       1.      Perry alleges that her former employer, Guerrieri, discriminated against her on

the basis of sex and due to her family genetic history when it subjected her to a hostile work

environment and harassment, reduced her pay, reduced her job responsibilities, demoted her,

terminated her employment, and failed to pay amounts due and owing for vacation pay and

profit sharing, and that Guerrieri further retaliated against Perry after she asserted her rights

to be free from discrimination including harassment by reducing her pay, reducing her job

responsibilities, demoting her, terminating her employment, and failing to pay amounts due

and owing for vacation pay and profit sharing.

       2.      Guerrieri’s discrimination and retaliation construes a violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq., Title II of the Genetic Information

Nondiscrimination Act of 2008, 42 U.S.C. § 2000ff, et seq., and the New York State Human

Rights Act.
        Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 2 of 13



         3.    Guerrieri’s failure to pay Perry amounts due and owing for accrued vacation

pay and profit sharing also constitutes a violation of the Wage Theft Prevention Act, New

York Labor Law §§ 190, et seq. and a breach of the parties’ contract.

                         PARTIES, JURISDICTION AND VENUE

         4.    Plaintiff Perry is a resident of Wayne County, New York.

         5.    Defendant John A. Guerrieri, DDS PLLC is a New York limited liability

company with its principal place of business in Wayne County, New York.

         6.    On information and belief, John A. Guerrieri, DDS PLLC does business as

John A. Guerrieri, DDS.

         7.    This action is, in part, one for discrimination under Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000e, et seq. (“Title VII”) and discrimination pursuant to the Title

II of the Genetic Information Nondiscrimination Act of 2008, 42 U.S.C. § 2000ff, et seq.

(“GINA”). Federal question jurisdiction in this Court is founded upon 28 U.S.C. §§ 1331 and

1343.

         8.    This Court has supplemental jurisdiction over the related state law claims

pursuant to 28 U.S.C. § 1367(a) because plaintiff ’s state law claims form part of the same case

or controversy under Article III of the United States Constitution. Plaintiff ’s state law claims

share common operative facts with her federal law claim, and the parties are identical.

Resolving all state and federal claims in a single action serves the interests of judicial

economy, convenience and fairness to the parties.

         9.    Venue in this District is proper, pursuant to 28 U.S.C. § 1391(b)(1) and (2), as

the defendant resides in this District and a substantial part of the acts giving rise to the asserted

claim took place in this District.


                                                 2
      Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 3 of 13



                   EXHAUSTION OF ADMINISTRATIVE REMEDIES

       10.     Perry has exhausted her administrative remedies in that she filed timely

administrative charges of discrimination and retaliation under Title VII and GINA against

Guerrieri with the U.S. Equal Employment Opportunity Commission (“EEOC”).

       11.     The EEOC issued a Determination on March 16, 2018, finding in part that

Guerrieri is an employer within the meaning of Title VII and GINA, and that there was

reasonable cause to believe that Guerrieri has discriminated against Perry in retaliation for

complaining of gender discrimination.

       12.     The EEOC issued a Notice of Right to Sue on April 5, 2018.

       13.     Attached to the Notice of Right to Sue, the EEOC included an April 5, 2018

cover letter to Perry stating in part “[w]e found that you were discriminated against in

violation of Title VII in that you were subject to harassment and retaliatory discharged [sic.]

because you had complained about gender harassment,” and advising Perry that any lawsuit

must be brought within ninety days of receipt of the letter.

                             SUBSTANTIVE ALLEGATIONS

       14.     Guerrieri operates multiple dental offices.

       15.     Perry has worked in the dental field for over twenty years and her prior

employers have given her positive reviews including stating that she is proficient in her work

as a dental assistant.

       16.     Guerrieri provided Perry with a letter agreement dated September 20, 2016,

agreeing to hire Perry as a dental assistant at its Walworth location, starting on September 22,

2016, with a salary of $20.00 per hour, and benefits consisting of three weeks of vacation (96

hour) which accrued on the date of hire (September 20, 2016), and would renew for the next


                                               3
        Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 4 of 13



year on April 1, 2017; six paid holidays; a 401(k) plan at the time of hire; profit sharing after

one year of service; and dental benefits per the employee handbook.

         17.   Perry commenced working for Guerrieri as a dental assistant on September 22,

2016.

         18.   As per the letter agreement, Perry’s supervisor was dentist John A. Guerrieri,

DDS (“Dr. Guerrieri”), who on information and belief is the sole member and manager of

John A. Guerrieri, DDS PLLC.

         19.   For the first few months of Perry’s employment with Guerrieri, Dr. Guerrieri

did not harass or otherwise demean Perry and treated her in a professional manner.

         20.   Dr. Guerrieri’s treatment of Perry changed in December 2016, when he learned

that Perry was engaged in a romantic relationship with another male dentist.

         21.   From December 2016 on, Dr. Guerrieri subjected Perry to daily harassment

because of her gender, making repeated inappropriate and degrading comments about Dr.

Guerrieri’s romantic relationship with the other dentist, stating that “every dentist he knows

takes care of their woman” in front of other employees and patients, and repeatedly making

comments to Perry about “your man” in front of other employees and patients.

         22.   Perry was being harassed because of her gender due to the manner in which

Dr. Guerrieri repeatedly referred to her boyfriend, and because Dr. Guerrieri repeatedly used

terms to berate Perry such as “his woman” and “your man”, implicating that Perry was a

“woman” who was not worthy of being treated like a professional or coworker.

         23.   Dr. Guerrieri’s repeated offensive comments concerning Perry’s romantic

relationship were sexually degrading, severe, and pervasive, causing Perry to endure a work

environment that was intimidating, hostile and abusive.


                                               4
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 5 of 13



       24.    Shortly after Dr. Guerrieri learned of Perry’s romantic relationship with

another dentist, Dr. Guerrieri stated that he was demoting Perry and that she would not be

working as a dental assistant, but instead would be going through Dr. Guerrieri’s “boot

camp”. That day, Dr. Guerrieri required Perry to take medically unnecessary x-rays of other

employees, he required other employees to supervise Perry’s work, and he repeatedly said

disparaging things about Perry and her work to other employees.

       25.    Even though Dr. Guerrieri claimed as a pretext that he was disparaging and

demoting Perry because she did not take a proper x-ray, the dental hygienists present stated

that the subject x-ray taken by Perry was done properly and without error.

       26.    The real reason why Dr. Guerrieri demoted and disparaged Perry was because

he was subjecting her to discrimination based on her gender and her personal relationship

with the other dentist.

       27.    Perry complained about Guerrieri’s harassing behavior towards her, and his

pejorative references to Perry and her relationship with her significant other, to the Office

Manager on more than one occasion.

       28.    Guerrieri’s other employees, including the office manager, told Perry that she

was not “doing anything wrong,” and that there was nothing wrong with Perry’s performance,

but that Dr. Guerrieri treated his prior female assistants in a similar manner, and this is “just

how he is.”

       29.    On the afternoon of January 23, 2017, Dr. Guerrieri again disparaged and

harassed Perry in front of a patient by yelling that Perry was doing her work improperly, and

by screaming the statement “[d]idn’t your MAAAAN care about anything?”, referring to

Perry’s boyfriend.


                                               5
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 6 of 13



       30.     Approximately thirty minutes later, Perry reported this incident to Guerrieri’s

Office Manager. Perry told the Office Manager what occurred during the January 23, 2017

incident, that Perry felt that Dr. Guerrieri’s comment was inappropriate and constituted

sexual harassment, and that Dr. Guerrieri had been sexually harassing Perry by making

repeated demeaning comments about her gender and her romantic relationship in front of

other employees and patients.

       31.     The Office Manager told Perry that she should raise the issue of harassment

with Dr. Guerrieri directly.

       32.     The next morning, on January 24, 2017, Dr. Guerrieri called Perry into his

office for a meeting, and stated that he was cutting Perry’s salary by $4.00 per hour, to $16.00

per hour.

       33.     Dr. Guerrieri then made additional harassing comments to Perry, criticized her

work, and stated that she would be required to go through an “assistant boot camp,” which

he stated that he just decided to create for Perry.

       34.     Perry then stated to Dr. Guerrieri that she would like to discuss another issue

regarding the harassing comments he had been making to her.

       35.     Dr. Guerrieri responded by yelling: “Harassment! Get out of here! You’re

FIRED!.”

       36.     Additionally, in January 2017, prior to Perry’s termination, Perry requested a

day off in February for a doctor’s appointment. The Office Manager asked why Perry was

going to the doctor, and Perry responded that she had a biopsy scheduled due to a finding of

test results including “abnormal cells”, that she has a family history of cancer, and that she

was told during genetic counseling that she most likely carries the BRCA gene.


                                                6
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 7 of 13



       37.    Just after Perry disclosed this information to the Office Manager concerning

her genetic history, and before terminating Perry, Guerrieri offered Perry’s position of dental

assistant to another person who was working without pay as an intern in the office.

       38.    As stated above, Guerrieri then terminated Perry’s employment a few days later.

       39.    Following the termination of Perry’s employment, despite Perry’s request for

payment, Guerrieri has failed to pay Perry for the three weeks of vacation that had accrued

or the profit sharing as promised in her letter agreement.

       40.    As a result of Guerrieri’s discrimination, retaliation, termination, and failure

to pay Perry for accrued vacation, and profit sharing, Perry has sustained damages including

lost wages, lost employment benefits, credit card debt and fees thereon, fees associated with

being unable to pay a vehicle lease, and interest thereon.

       41.    As a result of Guerrieri’s harassment, discrimination, and retaliation, Perry has

also sustained emotional distress.

       42.    Perry’s total damages based on the foregoing are in excess of $175,000.00, plus

interest, attorney’s fees and disbursements.

                        FIRST CAUSE OF ACTION
              UNLAWFUL DISCRIMINATION ON THE BASIS OF SEX
                        VIOLATION OF TITLE VII

       43.    Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       44.    Guerrieri’s conduct as alleged herein constitutes unlawful discrimination based

on Perry’s sex in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2.

       45.    Guerrieri discriminated against Perry in violation of Title VII when, based on

her gender, it subjected Perry to verbal abuse, a hostile work environment, harassment, and

disparate treatment; demoted Perry to a lesser position with diminished earning potential;


                                               7
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 8 of 13



decreased Perry’s salary; terminated Perry’s employment; and failed to pay Perry vacation

pay and profit sharing due and owing.

       46.     As a result of Guerrieri’s conduct as alleged herein, Perry has suffered and

continues to suffer harm, including losses in compensation, employee benefits, pain and

suffering, humiliation, mental anguish, and emotional distress.

       47.     Guerrieri’s unlawful actions were intentional, willful, malicious and/or done

with reckless disregard for Perry’s rights.

       48.     As a direct result of Guerrieri’s discrimination, Perry is entitled to all remedies

available under Title VII, including compensatory damages, punitive damages, attorney’s fees,

costs, prejudgment interest, and other compensation.

                       SECOND CAUSE OF ACTION
             UNLAWFUL RETALIATION IN VIOLATION OF TITLE VII

       49.     Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       50.     Guerrieri’s conduct as alleged herein constitutes unlawful retaliation against

Perry after she asserted her rights to be free from discrimination in violation of Title VII of

the Civil Rights Act of 1964.

       51.     Guerrieri discriminated against Perry in violation of Title VII when, in

retaliation for asserting a claim of sexual harassment, it subjected Perry to verbal abuse, a

hostile work environment, harassment, and disparate treatment; demoted Perry to a lesser

position with diminished earning potential; decreased Perry’s salary; terminated Perry’s

employment; and failed to pay Perry vacation pay and profit sharing due and owing.

       52.     As a result of Guerrieri’s conduct as alleged herein, Perry has suffered and

continues to suffer harm, including losses in compensation, employee benefits, pain and

suffering, humiliation, mental anguish, and emotional distress.

                                                8
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 9 of 13



       53.     Guerrieri’s unlawful actions were intentional, willful, malicious and/or done

with reckless disregard for Perry’s rights.

       54.     As a direct result of Guerrieri’s retaliation, Perry is entitled to all remedies

available under Title VII, including compensatory damages, punitive damages, attorney’s fees,

costs, prejudgment interest, and other compensation.

                        THIRD CAUSE OF ACTION
             UNLAWFUL DISCRIMINATION ON THE BASIS OF SEX
        IN VIOLATION OF THE NEW YORK STATE HUMAN RIGHTS LAW

       55.     Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       56.     Guerrieri’s conduct as alleged herein constitutes unlawful discrimination based

on Perry’s sex in violation of the New York State Human Rights Law (“NYSHRL”) and

regulations.

       57.     Guerrieri discriminated against Perry in violation of the NYSHRL when, based

on her gender, it subjected Perry to verbal abuse, a hostile work environment, harassment,

and disparate treatment; demoted Perry to a lesser position with diminished earning potential;

reduced Perry’s salary; terminated Perry’s employment; and failed to pay Perry vacation pay

and profit sharing due and owing.

       58.     As a result of Guerrieri’s conduct as alleged herein, Perry has suffered and

continues to suffer harm, including losses in compensation, employee benefits, pain and

suffering, humiliation, mental anguish, and emotional distress.

       59.     As a direct result of Guerrieri’s discrimination, Perry is entitled to all remedies

available under the NYSHRL, including compensatory damages, costs, prejudgment interest,

and other compensation.




                                                9
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 10 of 13



                         FOURTH CAUSE OF ACTION
                   UNLAWFUL RETALIATION IN VIOLATION OF
                   THE NEW YORK STATE HUMAN RIGHTS LAW

       60.    Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       61.    Guerrieri’s conduct as alleged herein constitutes unlawful retaliation against

Perry after she asserted her rights to be free from discrimination in violation in violation of

the NYSHRL and regulations.

       62.    Guerrieri discriminated against Perry in violation of the NYSHRL when, in

retaliation for asserting a claim of harassment based on her gender, it subjected Perry to verbal

abuse, a hostile work environment, harassment, and disparate treatment; demoted Perry to a

lesser position with diminished earning potential; reduced Perry’s salary; terminated Perry’s

employment; and failed to pay Perry vacation pay and profit sharing due and owing.

       63.    As a result of Guerrieri’s conduct as alleged herein, Perry has suffered and

continues to suffer harm, including losses in compensation, employee benefits, pain and

suffering, humiliation, mental anguish, and emotional distress.

       64.    As a direct result of Guerrieri’s retaliation, Perry is entitled to all remedies

available under the NYSHRL, including compensatory damages, costs, prejudgment interest,

and other compensation.

                        FIFTH CAUSE OF ACTION
             UNLAWFUL DISCRIMINATION IN VIOLATION OF GINA

       65.    Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       66.    Guerrieri’s conduct as alleged herein constitutes unlawful discrimination based

on Perry’s genetic information and genetic history in violation of Title II of the Genetic

Information Nondiscrimination Act (“GINA”).



                                               10
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 11 of 13



       67.     Guerrieri discriminated against Perry in violation of GINA when, based on

Perry’s genetic diagnosis, medical history and family’s medical history of cancer, it subjected

Perry to verbal abuse, a hostile work environment, harassment, and disparate treatment;

demoted Perry to a lesser position with diminished earning potential; decreased Perry’s

salary; terminated Perry’s employment; and failed to pay Perry vacation pay and profit

sharing due and owing.

       68.     As a result of Guerrieri’s conduct as alleged herein, Perry has suffered and

continues to suffer harm, including losses in compensation, employee benefits, pain and

suffering, humiliation, mental anguish, and emotional distress.

       69.     Guerrieri’s unlawful actions were intentional, willful, malicious and/or done

with reckless disregard for Perry’s rights.

       70.     As a direct result of Guerrieri’s discrimination, Perry is entitled to all remedies

available under GINA, including compensatory damages, punitive damages, attorney’s fees,

costs, prejudgment interest, and other compensation.

                          SIXTH CAUSE OF ACTION
               VIOLATION OF THE WAGE THEFT PREVENTION ACT

       71.     Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       72.     Guerrieri unlawfully failed to pay Perry wages due and owing and made

improper deductions from Perry’s wages in violation of the Wage Theft Prevention Act, New

York Labor Law §§ 190, et seq. (the “Wage Theft Prevention Act”).

       73.     Guerrieri violated the Wage Theft Prevention Act by failing to pay Perry

accrued vacation pay and profit sharing due and owing, which constitutes an underpayment

of wages and an improper deduction from Perry’s wages.



                                               11
     Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 12 of 13



       74.     Guerrieri does not have a good faith basis to believe its underpayment of wages

to Perry was in compliance with the law.

       75.     As a direct result of Guerrieri’s violation of the Wage Theft Prevention Act,

Perry is entitled to all remedies available thereunder, including the full amount of the

underpayment, attorney’s fees, costs, prejudgment interest, and liquidated damages equal to

one hundred percent of the total amount of the wages found to be due.

                              SEVENTH CAUSE OF ACTION
                                BREACH OF CONTRACT

       76.     Perry realleges paragraphs 1 through 42 as if fully set forth herein.

       77.     Pursuant to the September 20, 2016 Letter Agreement between Perry and

Guerrieri, Guerrieri agreed to pay Perry a salary of $20.00 per hour, three weeks of vacation,

which accrued on the date of hire, plus profit sharing.

       78.     Perry performed work as a dental assistant pursuant to the terms of the

agreement.

       79.     To date, Guerrieri has failed to pay Perry her full salary due and owing,

including payment for accrued vacation pay and profit sharing.

       80.     Guerrieri’s failure to pay Perry the salary and benefits that she earned

constitutes a breach of the Letter Agreement.

       81.     As a direct result of Guerrieri’s breaches of the parties’ agreement, Perry has

suffered losses constituting unpaid wages, unpaid vacation pay, and unpaid profit sharing.

                                   JURY TRIAL DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Perry hereby demands a

trial by jury of all claims raised herein for which Perry has a right to trial by jury.

       WHEREFORE, Perry demands judgment against Guerrieri as follows:

                                                12
         Case 6:18-cv-06443-MAT-JWF Document 23 Filed 05/17/19 Page 13 of 13



          A.    Order Guerrieri to pay compensatory damages including lost wages and

compensation, future lost wages, unpaid vacation pay, holiday pay, and profit sharing,

employment benefits, other compensation denied or lost to Perry, and additional damages

caused by Guerrieri including credit card debt and associated fees, and fees associated with

being unable to pay a vehicle lease, in an amount to be proven at trial, but not less than

$100,000.00 exclusive of interest and costs;

          B.    Order Guerrieri to pay compensatory damages for Perry’s mental anguish,

humiliation, embarrassment, stress and anxiety, emotional pain and suffering, and emotional

distress, in an amount to be proven at trial, but not less than $75,000.00 exclusive of interest

and costs;

          C.    Order Guerrieri to pay punitive damages in an amount to be determined at trial;

          D.    Order Guerrieri to pay liquidated damages in an amount to be determined at

trial;

          E.    Order Guerrieri to pay attorney’s fees, costs, and disbursements;

          F.    Order Guerrieri to pay pre-judgment interest and post-judgment interest;

          G.    Such other and further relief as the Court deems just and proper.


Dated: May 17, 2019                         LECLAIR KORONA COLE LLP


                                              s/ Stacey E. Trien_______________
                                            Stacey E. Trien, Esq.
                                            Attorneys for Plaintiff
                                            28 E. Main Street, Suite 1500
                                            Rochester, New York 14614
                                            (585) 327-4100
                                            strien@leclairkorona.com


                                               13
